              2:19-cv-00739-DCN                   Date Filed 04/06/20         Entry Number 28             Page 1 of 1
AO 450 (SCD 04/2010) Judgment in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


       Oceola Development & Construction, LLP                          )
                            Plaintiff                                  )
                         v.                                            )    Civil Action No.      2:19-cv-00739-DCN
International Insurance Company of Hannover, PLC                       )
                           Defendant                                   )

                                   SUMMARY JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 the plaintiff
 the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                            .
O other: The court grants Hannover’s motion for summary judgment.


This action was (check one):
 tried by a jury, the Honorable                           presiding, and the jury has rendered a verdict.

 tried by the Honorable                          presiding, without a jury and the above decision was reached.

Odecided by the Honorable David C. Norton, United States District Judge, on a motion for summary judgment.


Date: April 6, 2020                                                        CLERK OF COURT


                                                                                            s/John P. Bryan, Jr.
                                                                                       Signature of Clerk or Deputy Clerk
